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                                     State of Louisiana
                                      DEPARTMENT OF JUSTICE
                                 OFFICE OF THE ATTORNEY GENERAL
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                                        February 6, 2023

VIA CM/ECF

Lyle W. Cayce
Clerk of Court
United States Court of Appeals
Fifth Circuit
Office Of the Clerk
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408

Re:    Louisiana v. CDC, No. 22-30303

Dear Mr. Cayce,

       I submit this letter brief on behalf of the State Plaintiff-Appellees (“States”)
in response to this Court’s January 30, 2023 order. The States respectfully submit
that this appeal should not be held in abeyance pending resolution of the Supreme
Court’s decision in Arizona v. Mayorkas, No. 22-592.1 Instead, this Court should
direct the parties to submit supplemental briefs once a decision in that case is
released for four reasons: (1) the issues in Arizona v. Mayorkas have only limited
relevance here, (2) Federal Defendants’ compliance with notice-and-comment
rulemaking requirements is already far too delayed and an abeyance could delay it
further, (3) Federal Defendants are improperly attempting to moot this appeal,
which an abeyance could facilitate, and (4) resolution of this appeal would provide
important precedent for resolving the likely future challenges to the forthcoming
third attempted termination of the Title 42 system.

      First, the issues presented in Arizona v. Mayorkas have only limited
relevance to this appeal. True, both cases involve the Title 42 system. But the
question presented in Arizona is whether the nineteen prospective intervenor States
there (all of whom are also Plaintiff States here) were erroneously denied
intervention by the D.C. Circuit. The sole question on which the Supreme Court
granted review was thus: “Whether the State applicants may intervene to challenge


1 The State of Arizona concurs in this recommendation but expresses no opinion on the remainder of

this letter brief.




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the District Court’s summary judgment order.” Arizona v. Mayorkas, 143 S. Ct. 478
(2022).

      The D.C. Circuit denied the States’ motion to intervene purely on timeliness
grounds. See Arizona Joint Appendix at 1-7.2 No such timeliness issues are
presented here, however: the Federal Defendants issued the challenged
Termination Order on April 1, 2022, and the States challenged it two days later on
Sunday April 3, 2022. ROA.97. Federal Defendants have never questioned the
timeliness of this action.

       Nor are the other requirements for intervention likely to play a significant
role in this appeal. The adequacy of Federal Defendants’ representation of the
States’ interests in Arizona has little relevance here to Federal Defendants’ appeal.
Unlike Arizona, the States’ and Federal Defendants’ interests are concededly
directly adverse to each other.3

       The sole issue in Arizona with any meaningful chance of implicating the
principal issues here is whether the States possess protectable interests in the
potential termination of the Title 42 system, including whether they have Article III
standing to challenge that termination. But resolution of that issue is
straightforward under this Court’s precedents addressing State standing
specifically in the immigration context,4 as well as the Supreme Court’s decisions in
Department of Commerce v. New York, 139 S. Ct. 2551 (2019) and Massachusetts v.
EPA, 549 U.S. 497 (2007). See generally Answering Br.27-41. The district court
properly held that the States have standing under these existing precedents, and
Defendants’ standing arguments are plainly irreconcilable with those decisions. See
Answering Br.30-31, 33-34, 36-37.

       To the extent that the Supreme Court might overturn or radically change
these venerable precedents—which is distinctly unlikely—that could be addressed
through supplemental briefing. But even significant changes to standing doctrines
might matter little here, since Federal Defendants refused to challenge even one of
the district court’s factual findings underlying its Article III standing holding as
clearly erroneous—thereby conceding factual causation. See Answering Br.28-31.
And since “Article III ‘requires no more than de facto causality.’” New York, 139 S.
Ct. at 2566 (2019) (citation omitted), those forfeitures largely concede Article III
traceability here too even without double relaxation of ordinary standing

2 Available at https://bit.ly/3l311e5.
3 Resolution of this issue could implicate Law Labs’ appeal, although Law Labs separately lacks a
protectable interest and its arguments about the scope of injunctive relief fail on the merits in any
event. See Answering Br.91-99.
4 See, e.g., Texas v. United States, 809 F.3d 134 (5th Cir. 2015) aff’d by an equally divided court 579

U.S. 547 (2016); Texas v. Biden, 20 F.4th 928 (5th Cir. 2021) rev’d on other grounds Biden v.
Texas,142 S. Ct. 2528 (2022); Texas v. United States, 40 F.4th 205 (5th Cir.) cert. before judgment
granted 143 S.Ct. 51 (2022).




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requirements that applies here. See Answering Br.28-41. Unless that traceability
holding of New York is overruled, Federal Defendants’ failure to challenge any of
the district court’s factual findings will remain fatal to their traceability-only Article
III standing arguments. See id. at 28-29.

       Notably, standing is only one of a litany of arguments that Federal
Defendants have advanced to this Court, and their standing arguments comprise
only about 10% of their Opening Brief (pages 20-25) and 15% of their argument
section. The vast majority of issues presented here—e.g., prudential standing, the
committed-to-agency-discretion exception to judicial review, the good cause and
foreign affairs exceptions to the APA’s notice-and-comment rulemaking exceptions,
whether Defendants were required to consider immigration consequences in their
rulemaking, the adequacy of Defendants’ consideration of State reliance interests
and alternatives, and the district court’s equitable balancing—will not even
conceivably be affected by the Supreme Court’s resolution of the intervention issues
presented in Arizona v. Mayorkas.

      Second, an abeyance could further delay Federal Defendants’ already
woefully overdue compliance with requirements of the APA. The district court held
that Federal Defendants had likely violated the APA in issuing the April 1, 2022
Termination Order without complying with notice-and-comment rulemaking
procedures on May 13, 2022—nearly nine months ago—and issued an injunction on
that basis. Louisiana v. CDC, 603 F. Supp. 3d 406, 433-38 (W.D. La. 2022). But
Federal Defendants’ efforts to comply with that injunction by undertaking notice-
and-comment rulemaking are moving glacially at best.

       Federal Defendants are in no apparent hurry either to remedy that APA
violation or obtain relief from that injunction. Federal Defendants did not seek a
stay pending appeal, and in fact opposed Proposed Intervenors’ request for partial
stay. Nor did Federal Defendants seek to expedite this appeal. They did, however,
seek and obtain a stay of district court proceedings over the States’ objection,
thereby precluding any possibility of the district court’s preliminary injunction
expiring through final adjudication of the merits.

       Nor have Federal Defendants used this period to comply with notice-and-
comment requirements. Until recently, there was no indication at all that CDC
intended to undergo notice-and-comment rulemaking to terminate the Title 42
system—even though it did so when creating that system. 85 Fed. Reg. 56,424
(Sept. 11, 2020).

       Only after the States sought to intervene in the action underlying the
Arizona case (Huisha-Huisha, No. 21-100 (D.D.C. filed January 12, 2021)) did CDC
signal any intent to perform notice-and-comment rulemaking. Specifically, the U.S.
District Court for the District of Columbia (“DDC”) held that the Title 42 system




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was illegal for the second time5 on November 15, 2022. Huisha-Huisha v. Mayorkas,
No. CV 21-100 (EGS), 2022 WL 16948610 (D.D.C. Nov. 15, 2022), cert. and stay
granted 143 S. Ct. 478 (2022). Within hours of that decision, Federal Defendants
signaled they intended to acquiesce in that vacatur and nationwide injunction and
reached an agreement to do so with Plaintiffs just hours after that decision. See
Arizona Joint Appendix at 213-17.

      In doing so, Federal Defendants attempted to surrender their way to victory:
by acquiescing in their defeat in DDC, they sought to obtain through collusion what
had escaped them through rulemaking and litigating in this case: repeal of the Title
42 system without the hassle of complying with the APA’s notice-and-comment
rulemaking requirements.

       Six days later on November 21, the States moved to intervene to pick up the
defense of the Title 42 system that Federal Defendants had abandoned. If granted,
the States’ motion to intervene would thwart Federal Defendants’ attempted
victory-through-surrender ploy.

      Only after that motion to intervene was fully briefed did Federal Defendants
decide to appeal DDC’s injunction and vacatur. It did so on December 7. In a notice
accompanying that appeal, Federal Defendants indicated HHS and CDC “have
decided to undertake notice-and-comment rulemaking to replace 42 C.F.R. § 71.40”
and therefore “intend[] to move the D.C. Circuit to hold the appeal in abeyance
pending (i) the Fifth Circuit’s decision in Louisiana v. CDC, No. 22-30303 (5th Cir.),
the government’s appeal of the preliminary injunction enjoining implementation of
CDC’s April 1, 2022 Termination Order, and (ii) the forthcoming rulemaking to
replace § 71.40.” Arizona Joint Appendix at 219. (The D.C. Circuit has granted a
request to hold the Federal Defendants’ appeal in abeyance pending resolution of
Arizona v. Mayorkas.)

      But even now, nearly two months later after that notice, no proposed rule has
issued and no comments have been solicited. By all appearances, Federal
Defendants are scarcely closer to complying with the APA’s notice-and-comment
requirements now than when the district court held that they were required to do so
on May 20, 2022. Louisiana, 603 F. Supp. 3d at 443-39.

       In short, Federal Defendants do not appear to be in any hurry to conduct
notice-and-comment rulemaking while this appeal is still pending, and may act with
even less urgency if this appeal is held in abeyance.

     Third, Federal Defendants appear to be attempting to moot this appeal
unlawfully—an effort that an abeyance could aid. Specifically, on January 30, 2023,

5 The district court’s first holding to that effect on statutory grounds was quickly stayed by the D.C.

Circuit before being reversed unanimously. Huisha-Huisha v. Mayorkas, 27 F.4th 718 (D.C. Cir.
2022).




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the Executive Office of the President announced that the Administration would
“extend the [COVID-19 public health] emergency declaration[] to May 11, and then
end both emergencies on that date.” See Statement of Administration Policy at 1,
https://www.whitehouse.gov/wp-content/uploads/2023/01/SAP-H.R.-382-H.J.-Res.-
7.pdf (Jan. 30, 2023). In the Administration’s view, “the end of the public health
emergency will end the Title 42 policy at the border.” Id. at 2. If the Administration
is correct about the legal operation of that proposed action, it would moot this action
and appeal.

       Because the public health emergency declaration is set to expire on April 11,
it will need to be extended a final time prior to that date to effectuate a May 11
expiration date. Id. at 1-2. It does not appear that the Administration contemplates
any compliance with notice-and-comment procedures or satisfying any other
rulemaking requirements of the APA in providing for that termination of the public
health emergency and resulting termination of Title 42. Id.

       The Administration’s announced policy as to Title 42 is thus likely illegal,
and one or more States are likely to challenge it. Throughout this litigation, the
States’ position has been consistent: Federal Defendants can rely on improvements
in the COVID-19 pandemic to terminate Title 42 as long as they comply with the
APA in doing so. In particular, as the States have repeatedly argued, APA
compliance here requires: (1) conducting notice-and-comment rulemaking,
(2) considering the immigration impacts of termination, (3) evaluating the reliance
interests of States and the costs imposed on them, and (4) adequately considering
the various alternatives as to how the Title 42 System can be wound down. See also
Answering Br.54-86.

       It appears, however, that Federal Defendants do not intend to comply with
any of these requirements in this announced attempt to terminate Title 42 on May
11, 2023. The timing alone would preclude any notice-and-comment rulemaking.
And the Administration continues to argue that it can ignore immigration
consequences in exercising its statutory authority under 42 U.S.C. § 265 (the
statutory basis for the Title 42 system). See, e.g., Opening Br.26-27, 37-38, 45-46.
Nor does it appear that there will be any new rulemaking would address the other
deficiencies identified by the States. See generally Answering Br.54-86.

       The Administration’s announced plans notably would represent its third
attempt to circumvent core APA requirements, such as notice-and-comment
rulemaking. The first was the April 1, 2022 Termination Order, which the district
court enjoined and whose injunction is on appeal here. The second was Federal
Defendants’ attempt to employ the “tactic of ‘rulemaking-by-collective-
acquiescence.’” Arizona v. San Francisco, 142 S. Ct. 1926, 1928 (2022) (Roberts,
C.J., concurring) (citation omitted)—a collusive attempt that the Supreme Court
properly stayed in Arizona v. Mayorkas, 143 S. Ct. at 478. In addition, Federal
Defendants have engaged in other improper conduct, such as prematurely and



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unlawfully implementing the Termination Order more than a month before its
effective date—thereby forcing the States to seek and obtain a temporary
restraining order. See Answering Br.16-17, 81-82, 90.

       Undaunted by the stays/injunctions/temporary restraining orders against
their first two attempts to circumvent the APA, Federal Defendants are now
attempting a third end-run around bedrock requirements of administrative law. At
this point, it is fair to wonder whether the resources that the Administration has
invested in its multitudinous efforts to evade the APA would alone have been
sufficient to satisfy the APA’s notice-and-comment and reasoned decision-making
requirements—if allocated to APA compliance rather than evasion. But that is not
the path Federal Defendants have chosen. And so it may again fall to the States to
challenge the repeated APA violations that Defendants’ actions in attempting to
terminate the Title 42 system already have—and apparently will again—occasion.

      Fourth, and relatedly, this Court’s resolution of the issues presented could
provide important precedent for the forthcoming and inevitable challenge to Federal
Defendants’ latest (and third) attempt to terminate the Title 42 System without
complying with APA mandates, including notice-and-comment rulemaking. Given
the importance of the issues presented, and the likelihood of them recurring, an
abeyance is unwarranted.




                                               Sincerely,


                                               s/ Drew C. Ensign
                                               Drew C. Ensign
                                               Louisiana Special Assistant Solicitor
                                               General
                                               Counsel for State Plaintiffs


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